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Counsel to Plaintiff RDC Liquidating Trust

UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF NEW YORK


In re:                                                    Chapter 11

ROCHESTER DRUG CO-OPERATIVE, INC.                         Case No. 20-20230 (PRW)

                             Debtor.



Advisory Trust Group, LLC, as trustee of the RDC          Adv. Proc. No. 22-2043 (PRW)
LIQUIDATING TRUST,

                   Plaintiff,
     v.
PERNIX THERAPEUTICS, INC.; PERNIX
THERAPEUTICS, LLC; PERNIX HOLDCO 3 LLC,
PERNIX THERAPEUTICS HOLDINGS, INC.,
CURRAX HOLDINGS LLC

                             Defendants.

                         SUPPLEMENTAL CERTIFICATE OF SERVICE

STATE OF CALIFORNIA   )
                      )
COUNTY OF LOS ANGELES )


         I, Myra Kulick, am over the age of eighteen years, and am employed by Pachulski

Stang Ziehl & Jones LLP. I am not a party to the within action; my business address is

10100 Santa Monica Blvd., 13th Fl., Los Angeles, CA 90067.




DOCS_LA:342641.2 75015/003
        On March 7, 2022, I caused to be served true and correct copies of (1) Plaintiff’s

Motion for Leave to File First Amended Complaint; (2) Application For Entry Of An

Order Reducing Time For Notice Of Motion For Leave To File First Amended

Complaint; and (3) Order Reducing Time For Notice Of Motion For Leave To File First

Amended Complaint via email upon the parties set forth on the service list annexed hereto

as Exhibit 1.

        I declare under penalty of perjury, under the laws of the State of California and the

United States of America that the foregoing is true and correct.
        Executed this 7th day of March, 2022 at Santa Clarita, California.


                                                      /s/ Myra Kulick
                                                      Myra Kulick




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                                      EXHIBIT 1


Via Email
Assistant U.S. Trustee
Kathleen Dunivin Schmitt
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